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                           UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF CALIFORNIA

SIDNEY NAIMAN, individually and on
behalf of all others similarly situated,            Case No. 4:17-cv-03806-CW

                       Plaintiffs,

         v.

TOTAL MERCHANT SERVICES, INC., and
QUALITY MERCHANT SERVICES, INC.,

                       Defendants.


                                   [PROPOSED]
                       FINAL APPROVAL ORDER AND JUDGMENT

         The Parties in this class action lawsuit have moved for final approval of their proposed

class settlement. Dkt. No. ________ (the “Motion”). The Court preliminarily approved the

Settlement Agreement1 on ________, 2018, Dkt. No. ________, and notice was given to all

members of the Settlement Class under the terms of the Preliminary Approval Order.

         Upon consideration of the Motion, the Settlement Agreement, and the exhibits thereto,

the Court GRANTS final approval of the Settlement, finding specifically as follows:

                                         I.     Jurisdiction

         1.     This Court has jurisdiction over the subject matter of the Action and over all

parties to the Action, including all Settlement Class Members.




1 Unless otherwise defined herein, all terms used in this Order that are defined terms in the
Settlement Agreement, Dkt. No. ________, have the same meaning as set forth in the Settlement
Agreement.


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                                        II.     Class Definition

         2.     Under Federal Rule of Civil Procedure 23(c), the Court certifies the following

“Settlement Class,” consisting of:

         All persons within the United States to whom Quality Merchant Services, Inc., Michael
         Alimento, and/or Brian Alimento made a telephone call through the Spitfire dialing
         software and/or system (i.e., an automated telephone dialing system or an artificial or
         prerecorded voice) to any telephone number assigned to a cellular telephone service or
         any service for which the called party is charged for the call for the purpose of promoting
         Total Merchant Services, Inc.’s goods or services from July 5, 2013 through June 8,
         2018. These individuals are identified on the Class List.

                        III.   Class Representative and Class Counsel

         3.     Under Federal Rule of Civil Procedure 23, Sidney Naiman is hereby appointed as

Class Representative.

         4.     The following are hereby appointed as Class Counsel:

                        Edward Broderick
                        Anthony Paronich
                        BRODERICK & PARONICH, P.C.
                        99 High St., Suite 304
                        Boston, Massachusetts 02110
                               -and-
                        Matthew P. McCue
                        THE LAW OFFICE OF MATTHEW P. MCCUE
                        1 South Avenue, Suite 3
                        Natick, Massachusetts 01760
                               -and-
                        Jon Bernhard Fougner
                        600 California Street, 11th Floor
                        San Francisco, CA 94108
                               -and-
                        Andrew Heidarpour
                        Heidarpour Law Firm
                        1300 Pennsylvania Ave NW, 190-318
                        Washington, DC 20004

                                     IV.      Rule 23 Requirements

         5.     Pursuant to Federal Rule of Civil Procedure 23(a) Court finds that: (a) the

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Settlement Class is so numerous that joinder of all members is impracticable; (b) there are

questions of law or fact common to the Settlement Class; (c) the claims of the Class

Representative, identified above, are typical of the claims of the Settlement Class; and (d) the

Class Representative will fairly and adequately protect the interests of the Settlement Class.

         6.    Pursuant to Rule 23(b)(3), the Court finds that: (A) the questions of law or fact

common to the members of the Settlement Class predominate over the questions affecting only

individual members, and (B) certification of the Settlement Class is superior to other available

methods for the fair and efficient adjudication of the controversy.

                                     V.     Notice and Opt-outs

         7.    The Court finds that, in accordance with the Notice Plan and Rule 23(c)(2)(B), the

Settlement Administrator provided the best notice practicable under the circumstances, including

individual notice to all Class members who could be identified through reasonable effort.

         8.    The Court finds that Defendant properly and timely notified the appropriate state

and federal officials of the Settlement Agreement under the Class Action Fairness Act of 2005

(“CAFA”). See 28 U.S.C. § 1715.

         9.     All persons who made timely and valid requests for exclusion are excluded from

the Settlement Class and are not bound by this Final Approval Order and Judgment. The list of

persons submitting notices seeking exclusion from the Settlement Class, submitted by Plaintiff

pursuant to the Preliminary Approval Order, see Dkt. No. ________, is hereby accepted as the

list of persons who have made timely and valid requests for exclusion.

                              VI.    Final Approval of the Settlement

         10.   Pursuant to the Settlement Agreement, Defendant has agreed to pay Seven

Million Five Hundred Thousand Dollars ($7,500,000) to create the Settlement Fund. Amounts


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awarded to Class Counsel or the Class Representative will be paid from the Settlement Fund.

Class Members who have submitted a valid claim will receive a pro-rata share of the Settlement

Fund after attorneys’ fees and costs, the Class Representative’s award, and the costs of notice

and administration are deducted, with pro ration based on Shares (i.e., applicable and allegedly

actionable calls). Defendant has also represented that it has taken steps to ensure compliance

with respect to the telemarketing conduct alleged in the Second Amended Complaint.

         11.   The Court has read and considered the papers filed in support of the Motion,

including the Settlement Agreement and the exhibits thereto, memoranda and arguments

submitted on behalf of Plaintiff, Settlement Class Members, and Defendant. The Court has also

read and considered any written objections filed by Settlement Class Members. [Alternatively:

“The Court has not received any objections from any person regarding the Settlement.”] The

Court held a hearing on ________, 2018, at which time the parties [and objecting Settlement

Class Members] were afforded the opportunity to be heard in support of or in opposition to the

Settlement. Furthermore, the Court finds that notice under the Class Action Fairness Act was

effectuated on ________, 2018, and that ninety (90) days have passed without comment or

objection from any governmental entity.

         12.   The Court now grants final approval to the Settlement and finds that the

Settlement is fair, adequate, reasonable, and in the best interests of the Settlement Class. This

finding is supported by, among other things, the complex legal and factual posture of the Action,

the fact that the Settlement is the result of arm’s-length negotiations initially presided over by a

neutral mediator, and the settlement benefits being made available to Settlement Class Members.

         13.   The Settlement Administrator shall take all reasonable steps necessary to ensure

that the settlement is effectuated in a manner consistent with the Settlement Agreement.


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         14.   In the event that settlement payments exceed the threshold amounts that must be

reported to the Internal Revenue Service by means of a Form 1099, Class Counsel and the

Settlement Administrator will take all necessary and reasonable steps to obtain W-9’s from

claimants and to comply with applicable IRS regulations on issuing 1099s without a social

security number or tax entity identification number, and shall take all reasonable and necessary

steps to avoid imposition of IRS penalties against the Settlement Fund, including, but not limited

to, limiting payments to be below the reportable threshold and/or withholding of taxes and any

applicable penalties.

         15.   The Court orders the Parties to the Settlement Agreement to perform their

obligations thereunder. The Settlement Agreement shall be deemed incorporated herein as if

explicitly set forth and shall have the full force of an order of this Court.

         16.   The Court dismisses this Action with prejudice and without costs (except as

otherwise provided herein and in the Settlement Agreement).

         17.    On and after the Effective Date, the Releasing Parties, and each of them, are

forever barred and permanently enjoined from directly, indirectly, representatively, or in any

other capacity filing, commencing, prosecuting, continuing, or litigating any other proceeding

against any of the Released Parties in any jurisdiction based on or relating in any way to the

Released Claims, and the Releasing Parties are forever barred and permanently enjoined from

filing, commencing, or prosecuting any lawsuit individually or as a class action against any of

the Released Parties (including by seeking to amend a pending complaint to include class

allegations or by seeking class certification in a pending action in any jurisdiction) based on or

relating in any way to the Released Claims.

         18.   The Court further orders that upon the Effective Date, the above-described


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releases and the Settlement Agreement will be binding on, and have res judicata and preclusive

effect in, all pending and future lawsuits or other proceedings maintained by or on behalf of the

Releasing Parties.

         19.        Without affecting the finality of this Final Approval Order and Judgment in any

way, the Court retains jurisdiction over: (a) implementation and enforcement of the Settlement

Agreement until the final judgment contemplated hereby has become effective and each and

every act agreed to be performed by the parties hereto pursuant to the Settlement Agreement has

been performed; (b) any other action necessary to conclude the Settlement and to administer,

effectuate, interpret, and monitor compliance with the provisions of the Settlement Agreement;

and (c) all parties to this Action and Settlement Class Members for the purpose of implementing

and enforcing the Settlement Agreement.

             VII.    Attorneys’ Fees, Attorney Expenses and Class Representative’s Award

         20.        The Court approves payment of attorneys’ fees, costs, and expenses to Class

Counsel in the amount of $______________ in attorneys’ fees and $_______ in costs. This

amount shall be exclusively paid from the Settlement Fund in accordance with the terms of the

Settlement Agreement. The Court, having considered the materials submitted by Class Counsel

in support of final approval of the Settlement and their request for attorneys’ fees, costs, and

expenses and in response to the filed objections thereto, finds the award of attorneys’ fees, costs,

and expenses appropriate and reasonable, and the Court notes that the Notice specifically and

clearly advised the Class that Class Counsel would seek the award.

         21.        The Court approves the incentive fee payment of $________ for the Class

Representative and specifically finds that amount to be reasonable in light of the service

performed by Plaintiff for the class. This amount shall be exclusively paid from the Settlement


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Fund in accordance with the terms of the Settlement Agreement. Any incentive award will be

reported as “other income” in Box 3 of Form 1099-MISC.

         22.    The Court approves payment of $______________ in administration expenses to

the Settlement Administrator. This amount shall be exclusively paid from the Settlement Fund in

accordance with the terms of the Settlement Agreement.

         23.    Neither this Final Approval Order and Judgment as to the Defendant nor the

Settlement Agreement shall be construed or used as an admission or concession by or against the

Defendant or any of the Released Parties of any fault, omission, liability, or wrongdoing, or the

validity of any of the Released Claims in any action or proceedings whatsoever. This Final

Approval Order and Judgment is not a finding of the validity or invalidity of any claims in this

Action or a determination of any wrongdoing by the Defendant or any of the Released Parties.

The final approval of the Settlement Agreement does not constitute any opinion, position, or

determination of this Court, one way or the other, as to the merits of the claims and defenses of

Plaintiff, the Settlement Class Members, or Defendant.



         The Clerk is hereby directed to enter this Final Approval Order and Judgment.


DATED:                         , 2018
                                                     United States District Court




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     UNITED STATES DISTRICT COURT FOR THE NORTHERN
                 DISTRICT OF CALIFORNIA

    Naiman v. Total Merchant Services, Inc., Civil Action No. 4:17-cv-
                              03806-CW
If a call from Defendant or Quality Merchant Services, Michael
    Alimento, or Brian Alimento on behalf of Defendant was
  directed to your cellular telephone, you could get a payment
                 from a class action settlement.
             A federal court authorized this Notice. This is not a solicitation from a lawyer.
•   Defendant Total Merchant Services, Inc. (“Defendant”) has agreed to pay Seven Million Five
    Hundred Thousand Dollars ($7,500,000) into a fund from which eligible persons or entities
    who file claims will receive cash awards. The amount of your recovery will be based on the
    number of calls you received and the number of people who file valid claims, but the
    minimum amount each valid claimant is expected to receive is $225. You can see the
    number of calls you received by inputting your phone number on the settlement website:
    www.XXX.com
•   The website also has a copy of the Settlement Agreement, which defines the special terms
    used in this Notice.
•   The settlement resolves a lawsuit involving allegations that Quality Merchant Services, Inc.,
    Michael Alimento, and/or Brian Alimento made automated telemarketing calls and/or calls
    using an artificial or prerecorded voice on the Defendant’s behalf from July 5, 2013 through
    June 8, 2018 to cellular telephone lines using the Spitfire dialing system.
•   Court-appointed lawyers for the class (“Class Counsel”) will ask the Court for One Million
    Eight Hundred Seventy-Five Thousand Dollars ($1,875,000) of the fund as attorneys’ fees
    for the time they spent investigating the facts, litigating the case, and negotiating the
    settlement. Class counsel will also ask the Court to reimburse them an amount not to exceed
    $20,591.19 for the out-of-pocket expenses they incurred in pursuing the case.
•   Defendant denies all allegations of wrongdoing in the lawsuit. As part of the proposed
    settlement, Defendant does not admit to any wrongdoing and continues to deny the
    allegations against it.
•   The two sides disagree on whether Plaintiff and the class could have won at trial.
•   Your legal rights are affected whether you act or don’t act. Read this Notice carefully.
•   This Notice summarizes the proposed Settlement. For the precise terms and conditions of
    the Settlement, please see the Settlement Agreement available at www.XXX.com; contact
    Class Counsel at Broderick & Paronich, P.C., 99 High St., Suite 304, Boston, MA 02110,
    (508) 221-1510access the Court docket in this case through the Court’s Public Access to
    Court Electronic Records (PACER) system at https://ecf.cand.uscourts.gov; or visit the office
    of the Clerk of the Court for the United States District Court for the Northern District of


               QUESTIONS? CALL 1-XXX-XXX-XXXX TOLL FREE OR VISIT WWW.XXX.COM
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       California, 1301 Clay St., Oakland, CA 94612, between 9:00 a.m. and 4:00 p.m., Monday
       through Friday, excluding Court holidays.
        •

        •   PLEASE DO NOT TELEPHONE THE COURT OR THE COURT CLERK’S
            OFFICE TO INQUIRE ABOUT THIS SETTLEMENT OR THE CLAIMS
            PROCESS.


                   YOUR LEGAL RIGHTS AND OPTIONS IN THIS SETTLEMENT:

      SUBMIT A CLAIM FORM BY Ask for payment. This is the only way to receive a payment
              DATE           from this Settlement.

                                      Get no payment. This is the only option that allows you to ever
        EXCLUDE YOURSELF BY
                                      be part of any other lawsuit against Defendant about the legal
              DATE
                                      claims being resolved.

                OBJECT BY
                                      Write to the Court explaining why you don’t like the settlement.
                 DATE

        ATTEND A HEARING ON           Ask to speak in Court about the fairness of the settlement. To be
              DATE                    heard, you must have timely objected.

                DO NOTHING            Get no payment. Give up right to ever be part of any other
                                      lawsuit against Defendant about the legal claims in this case.



                                         BASIC INFORMATION
 1. What is this notice and why should I read it?


The purpose of this Notice is to let you know that a proposed settlement has been reached in the class action
lawsuit entitled Naiman v. Total Merchant Services, Inc., Civil Action No. 4:17-cv-03806-CW in the United
States District Court for the Northern District of California. You have legal rights and options that you may
act on before the Court decides whether to approve the proposed settlement. Because your rights will be
affected by this settlement, it is extremely important that you read this Notice carefully. This Notice
summarizes the settlement and your rights under it.

 2. What is this lawsuit about?


In a class action, one or more people, called class representatives, sue on behalf of people who have similar
claims. All of these people are a class, or class members. One court resolves the issues for all class members,
except those who exclude themselves from the class.



                 QUESTIONS? CALL 1-XXX-XXX-XXXX TOLL FREE OR VISIT WWW.XXX.COM
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Here, the class representative alleges that from July 5, 2013 through June 8, 2018 Defendant violated the
Telephone Consumer Protection Act (“TCPA”) by the fact that Quality Merchant Services, Inc., Michael
Alimento and/or Brian Alimento, on behalf of Defendant, made automated telemarketing calls and/or calls
using an artificial or prerecorded voice through the Spitfire dialing system to cellular telephones and
numbers for which the called party is charged for incoming calls. The class representative alleges that
Defendant did not have the recipients’ permission to make these calls.

The Court has certified a class for settlement purposes only (the “Settlement Class”). U.S. District Court
Judge Claudia Wilken (the “Court”) is in charge of this class action.

Defendant denies that it did anything wrong and that this case would be certified as a class action
in litigation.

                                           THE SETTLEMENT
 3. Why is there a settlement?


The Court has not decided in favor of Plaintiff or Defendant. Instead, both sides agreed to a settlement. That
way, they avoid the cost of a trial, and the people affected will get compensation. The class representatives
and their attorneys think the settlement is best for the Settlement Class.

                                 WHO IS IN THE SETTLEMENT?
 4. How do I know if I am a part of the Settlement?


You are likely in the Settlement Class if, between July 5, 2013 and June 8, 2018, Quality Merchant
Services called your cell phone. You can check whether you are in the Settlement Class by entering
your phone number at www.XXX.com.


If you have questions about whether you are part of the Settlement Class, you may call 1-XXX-XXX-
XXXX or visit www.XXX.com for more information.

                    THE SETTLEMENT BENEFITS – WHAT YOU GET
 5. What does the Settlement provide?


Defendant has agreed to pay Seven Million Five Hundred Thousand Dollars ($7,500,000) to be divided
among all Settlement Class Members who send in a valid Claim Form after any fees, costs, service awards,
and settlement administration expenses have been deducted.

Defendant has also agreed that it will take remedial steps in an effort to comply with the TCPA’s
requirements regarding making telephone calls using an automatic telephone dialing system or an artificial
or prerecorded voice to any telephone number assigned to a cellular telephone service in response to the
allegations and claims asserted in this lawsuit. .



                QUESTIONS? CALL 1-XXX-XXX-XXXX TOLL FREE OR VISIT WWW.XXX.COM
                                             ~3~
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 6. How much will my payment be?


Your share of the settlement will depend on the number of Claim Forms that Settlement Class Members
submit, and the amount of calls you received, but the minimum amount valid each claimant is estimated to
receive is $[INSERT]. In particular, the payment to each participating Settlement Class Member will be
proportionate to the number of calls he or she received. It is likely that the actual minimum payment may
be more than that, because not every person who could submit a claim does so, and the leftover amount
goes to the people who do submit valid claims. You can learn the number of calls you received by inputting
your phone number on the settlement website: www.XXX.com

                HOW YOU GET A PAYMENT – SUBMITTING A CLAIM FORM
    7. How do I make a claim?


To qualify for payment, you must submit a Claim Form by Month XX, XXXX. There are multiple ways to
submit a Claim Form. A paper Claim Form is available by calling 1-XXX-XXX-XXXX. Read the
instructions on the postcard carefully, fill out the form, sign it, and mail it postmarked no later than Month
XX, XXXX. You may also submit a Claim Form online by going to the Settlement Website at
www.XXX.com and following directions. You also may download a paper Claim Form on the Settlement
Website or call the Settlement Administrator at 1-XXX-XXX-XXXX. Claim Forms sent by mail must be
postmarked by Month XX, XXXX and mailed to:

                                Total Merchant Telemarketing Settlement
                                       Settlement Administrator
                                                 Epiq
                                           P.O. Box. XXXX
                                          City, State Zip Code


 8. When will I get my payment?

The Court will hold a hearing to decide whether to approve the settlement. The hearing is expected to be
on Month XX, XXXX, and if the hearing date changes, the updated date will be posted to
www.XXX.com. If the settlement is approved, appeals may still follow. It is always uncertain whether
these appeals can be resolved, and resolving them can take more than a year. Please be patient.

 9. What am I giving up to get a payment and stay in the Class?

Unless you exclude yourself, you are staying in the Settlement Class and you will be a Settlement Class
Member. That means you can’t sue, continue to sue, or be part of any other lawsuit against Defendant
regarding the claims that are subject to the settlement. If the settlement is approved and becomes final and
not subject to appeal, then you and all Class Members release all “Released Claims” against all “Released
Parties.” It also means that all of the Court’s orders will apply to you and legally bind you.
The Settlement Agreement (available at www.XXX.com) describes the claims you are releasing (the
“Released Claims”) and against whom you are releasing claims (“Released Parties”) in detail, so read it

                 QUESTIONS? CALL 1-XXX-XXX-XXXX TOLL FREE OR VISIT WWW.XXX.COM
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carefully. To summarize, the release includes, but is not limited to, telemarketing-related claims that arise
out of the improper use of an “automatic telephone dialing system” and/or an “artificial or prerecorded
voice” by, or on behalf of, Defendant to make telephone calls to cellular phones.


                   EXCLUDING YOURSELF FROM THE SETTLEMENT
If you don’t want a payment from this settlement, but you want to keep the right to sue or continue to sue
Defendant, then you must take steps to remove yourself from the Settlement Class. This is called excluding
yourself—or is sometimes referred to as “opting out” of the Settlement Class.

 10. How do I get out of the Settlement?

To exclude yourself from the settlement, you must send a letter saying that you want to be excluded from
the Naiman v. Total Merchant Services, Inc., Civil Action No. 4:17-cv-03806-CW settlement. Your letter
must state that you wish to be excluded from this settlement, include your name, address, and telephone
number and be signed by you. You must mail your exclusion request postmarked no later than Month XX,
XXXX to the following address:
                                Total Merchant Telemarketing Settlement
                                       Settlement Administrator
                                                  Epiq
                                           P.O. Box XXXX
                                          City, State Zip Code

You cannot exclude yourself on the phone or by fax or email. If you ask to be excluded, you will not
get any payment, and you cannot object to the settlement. You will not be legally bound by anything
that happens in this lawsuit. You may be able to sue (or continue to sue) Defendant in the future.

 11. If I don’t exclude myself, can I sue Total Merchant for the same thing later?

No. Unless you exclude yourself, you give up any right to sue Defendant for the claims that this settlement
resolves. If you already have a lawsuit that may relate to the claims being released as part of this class
settlement, you should speak to your lawyer in that case immediately. You must exclude yourself from this
Settlement Class to continue your own lawsuit. Remember, the exclusion deadline is Month XX, XXXX.

 12. If I exclude myself, can I get anything from this Settlement?

No. If you exclude yourself, do not submit a Claim Form to ask for a payment.

                            THE LAWYERS REPRESENTING YOU
 13. Do I have a lawyer in this case?


The Court has appointed Broderick & Paronich, P.C., The Law Office of Matthew P. McCue, Heidarpour
Law Firm and Jon Fougner to represent you and other Settlement Class Members. These lawyers are called



                QUESTIONS? CALL 1-XXX-XXX-XXXX TOLL FREE OR VISIT WWW.XXX.COM
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Class Counsel. You will not be charged for these lawyers. If you want to be represented by your own lawyer,
you may hire one at your own expense.

 14. How will the lawyers be paid?


Class Counsel will ask the Court to approve payment of up to One Million Eight Hundred Seventy-Five
Thousand Dollars ($1,875,000) to them for attorneys’ fees. This amounts to 25% of the total fund. Class
Counsel will also seek recovery of their actual expenses spent on the litigation not to exceed $20,591.19.
These payments would pay Class Counsel for investigating the facts, litigating the case, and negotiating the
settlement. Class Counsel also will request a service award of $10,000 for the named Plaintiff to compensate
him for his time and effort. The Court may award less than these amounts.

If there is money left over that is too small to be practicably distributed to class members, the Parties have
proposed to the Court that it go to the National Consumer Law Center (“NCLC”). NCLC is a nonprofit
organization that works for consumer justice and economic security for low-income and other
disadvantaged people, including advocating against illegal telemarketing.

                               OBJECTING TO THE SETTLEMENT
    15. How do I object to the Settlement?

You can ask the Court to deny approval of the Settlement by filing an objection. You can’t ask the Court to
order a larger settlement; the Court can only approve or deny the settlement. If the Court denies approval,
no settlement payments will be sent out and the lawsuit will continue. If that is what you want to happen,
you must object.


You may object to the proposed settlement in writing, in which case you may also appear at the Final
Approval Hearing, either in person or through your own attorney. If you appear through your own attorney,
you are responsible for paying that attorney. All written objections and supporting papers must (a) clearly
identify the case name and number (Naiman v. Total Merchant Services, Inc., Case Number 4:17-cv-03806-
CW), (b) be submitted to the Court either by mailing them to the Class Action Clerk, United States District
Court for the Northern District of California, 1301 Clay St., Oakland, CA 94612, or by filing them in person
at any location of the United States District Court for the Northern District of California, and (c) be filed or
postmarked on or before [DATE].


The written objection must (a) contain information sufficient to allow the parties to confirm that you are a
member of the Settlement Class, including your full name, address, telephone number, and signature; (b)
include a statement of your specific factual and/or legal objections, as well as any witness testimony and
documents that you would like the Court to consider; (c) provide the name and contact information of any
attorney you intend to have assert your objections before the Court; (d) state whether you intend to appear
at the Final Approval Hearing.


 16. What’s the difference between objecting and excluding myself from the Settlement?



                QUESTIONS? CALL 1-XXX-XXX-XXXX TOLL FREE OR VISIT WWW.XXX.COM
                                             ~6~
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Objecting simply means telling the Court that you don’t like something about the settlement. You can object
only if you stay in the Settlement Class. Excluding yourself from the Settlement Class is telling the Court
that you don’t want to be part of the Settlement Class. If you exclude yourself, you have no basis to object
because the case no longer directly affects you.

                              THE COURT’S FAIRNESS HEARING
 17. When and where will the Court hold a hearing on the fairness of the Settlement?


The Court is expected to hold the final fairness hearing at X:00 x.m. on Month XX, XXXX, before the
Honorable Claudia Wilken at the U.S. District Court for the Northern District of California, 1301 Clay
Street, Oakland, CA 94612. The purpose of the hearing is for the Court to determine whether the settlement
is fair, reasonable, adequate, and in the best interests of the class. At the hearing, the Court will hear any
objections and arguments concerning the fairness of the proposed settlement, including those related to the
amount requested by Class Counsel for attorneys’ fees and expenses, and the incentive award to the class
representative. After the hearing, the Court will decide whether to approve the settlement. We do not know
how long these decisions will take.

Note: The date and time of the fairness hearing are subject to change by Court Order without further notice
to the class. You may check www.XXX.com or https://ecf.cand.uscourts.gov to check if the date has
changed.

                           DO I HAVE TO ATTEND THE HEARING
 18. Do I have to come to the hearing?

Class Counsel will answer any questions the Court may have. But you are welcome to come to the hearing
at your own expense. If you send an objection, you don’t have to come to Court to talk about it. As long as
your written objection was filed or mailed on time, and meets the other criteria described in the Settlement
Agreement, the Court will consider it. You may also pay a lawyer to attend, but you don’t have to.

 19. May I speak at the hearing?


If you do not exclude yourself from the Settlement Class, you may ask the Court for permission to speak
at the hearing concerning any part of the proposed Settlement Agreement. If you filed an objection and
intend to appear at the hearing, you must state your intention to do so in your objection. To speak, you
must state that you intend to appear at the hearing in your objection. Be sure to include your name,
address, telephone number, that you are a Class Member, and your signature. You cannot speak at the
hearing if you exclude yourself.


                                       IF YOU DO NOTHING
 20. What happens if I do nothing at all?




                QUESTIONS? CALL 1-XXX-XXX-XXXX TOLL FREE OR VISIT WWW.XXX.COM
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If you do nothing, you’ll get no money from this settlement. But, unless you exclude yourself, you won’t
be able to start a lawsuit, continue with a lawsuit, or be part of any other lawsuit against Defendant about
the legal issues released in this case.

                               GETTING MORE INFORMATION
 21. How do I get more information?


This notice summarizes the proposed settlement. More details are in the Settlement Agreement. You may
review the Settlement Agreement on the Settlement Website at www.XXX.com. You can also get a copy
of the Settlement Agreement by writing to any of the Court-appointed attorneys.
You can call 1-XXX-XXX-XXXX toll-free; write to Total Merchant Telemarketing Settlement, Epiq, P.O.
Box XXXX, City, State Zip Code; or visit the website at www.XXX.com, where you will find answers to
common questions about the settlement, a Claim Form, plus other information to help you determine
whether you are a member of the Settlement Class.


PLEASE DO NOT CONTACT THE COURT, THE JUDGE, OR THE DEFENDANT WITH
        QUESTIONS ABOUT THE SETTLEMENT OR CLAIMS PROCESS.




                QUESTIONS? CALL 1-XXX-XXX-XXXX TOLL FREE OR VISIT WWW.XXX.COM
                                             ~8~
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Naiman v. Total Merchant Services, Inc., Settlement Administrator
PO Box 3770
Portland, OR 97208-3770




The purpose of this Notice is to let you know that a proposed settlement has been
reached in the class action lawsuit entitled Naiman v. Total Merchant Services, Inc.,
Civil Action No. 4:17-cv-03806-CW in the United States District Court for the              Postal Service: Please do not mark barcode
Northern District of California. You have legal rights and options that you may act on
before the Court decides whether to approve the proposed settlement. Because your
rights will be affected by this settlement, it is extremely important that you read this   «MailRec»
Notice carefully. This Notice summarizes the settlement and your rights under it.          «First1» «Last1»
                                                                                           «CO»
                                                                                           «Addr2»
                                                                                           «Addr1»
                                                                                           «City», «St» «Zip»
Unique ID: <<XXXXXXXXXXXXXXX>>                                                             «Country»
Please use the above unique ID to file a claim online at
www.XXXXXXXXXXXX.com
                                                                                           «Barcode»




                  Visit www.XXXXXXXXXX.com or call 1-877-327-1109 for complete information and to obtain a Claim Form
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Who is included? You were identified as someone who may have received one or more of your own attorney, you are responsible for paying that attorney. All written objections and
these phone calls between July 5, 2013 and June 8, 2015.                                   supporting papers must (a) clearly identify the case name and number (Naiman v. Total
                                                                                           Merchant Services, Inc, Case Number 4:17-cv-03806-CW), (b) be submitted to the
How much money can I get? If the Court approves the Settlement, every Settlement           Court either by mailing them to the Class Action Clerk, United States District Court for
Class Member who submits a valid Claim Form will be entitled to an equal payment from the Northern District of California, 1301 Clay St., Oakland, CA 94612, or by filing them
the $7,500,000 Settlement Fund. Class Counsel estimate that the minimum per class          in person at any location of the United States District Court for the Northern District of
claimant payout will be $XXX, but your actual payment amount will depend on how            California, and (c) be filed or postmarked on or before XX, XXXXXX, XXXX
many Settlement Class Members submit valid Claim Forms and how many calls you
received. The expected minimum payout will be $225 and may be more. The Settlement Any objection must include your full name; address; telephone numbers that you maintain
Fund will be divided based on the number of calls each participating Settlement Class      were called; all grounds for your objection, with factual and legal support for each stated
Member received, after attorneys’ fees, costs and expenses, an award for the Class         ground; the identity of any witnesses you may call to testify; copies of any exhibits that
Representative, and notice and administration costs have been deducted. Class Counsel      you intend to introduce into evidence; and a statement of whether you intend to appear at
intend to seek $1,875,000 for attorneys’ fees plus an additional amount not to exceed      the Final Approval Hearing with or without counsel. Attendance at the hearing is not
$20,591.19 for reimbursement for out-of-pocket expenses.                                   necessary. If you want to be heard orally (either personally or through counsel) in
How can I get a payment? You must complete a Claim Form by no later than XX,               opposition to the Settlement you must file a timely objection as set forth above.
XXXXXX, XXXX. Claim Forms may be completed online at                                       When will the Settlement be finally approved? The Court intends to hold a Final
www.XXXXXXXX.com or obtained by calling the Settlement Administrator at 1-877- Approval Hearing (the “Hearing”) at [DATE] and Time at the U.S. District Court,
327-1109.                                                                                  Northern District of California, 1301 Clay St., Oakland, CA 94612. That date may
What are my options? If you are a Settlement Class Member and you submit a Claim           change without further notice. You may check the websites below to confirm that the date
Form or do nothing, and the Court approves Settlement, you will be bound by all of the     has not changed. At the Hearing, the Court will consider whether to approve: the proposed
Settlement terms, including the releases of claims against Defendant and the other         Settlement as fair, reasonable, and adequate; Class Counsel’s fee and cost request; and a
Released Parties. You may “opt out” (exclude yourself) from the Settlement. If you opt     $10,000 payment to the Class Representative. The Court will also hear objections to the
out, you will not receive a payment, and you will not release any claims. You will be free Settlement. If approval is denied or reversed on appeal or does not become final, the case
to pursue whatever legal rights you may have at your own risk and expense. To exclude      will continue and claims will not be paid.
yourself from the Settlement, you must mail a request for exclusion to: Naiman v. Total    Want more information? This notice summarizes the proposed settlement. For the
Merchant Services, Inc. Settlement Administrator, PO Box 3770, Portland, OR 97208-
                                                                                           precise terms and conditions of the settlement, please see the settlement agreement
3770, which must be postmarked by XX, XXXXXX, XXXX, that includes your full
                                                                                           available at www.XXXXXXXXXX.com, by contact class counsel at BRODERICK &
name, address, telephone number or numbers, a statement that you wish to be excluded
from the Naiman v. Total Merchant Services, Inc., No. 4:17-cv-03806-CW Settlement, PARONICH, P.C., 99 High St., Suite 304, Boston, Massachusetts 02110, (508) 221-
and your signature. Unless you exclude yourself from this Settlement, you give up your     1510access the Court docket in this case through the Court’s Public Access to Court
right to sue or continue a lawsuit against Defendant and the other Released Parties.       Electronic Records (PACER) system at https://ecf.cand.uscourts.gov, or visit the office
                                                                                           of the Clerk of the Court for the United States District Court for the Northern District
You can ask the Court to deny approval by filing an objection. You can’t ask the Court to of California, 1301 Clay St., Oakland, CA 94612, between 9:00 a.m. and 4:00 p.m.,
order a larger settlement; the Court can only approve or deny the settlement. If the Court Monday through Friday, excluding Court holidays.
denies approval, no settlement payments will be sent out and the lawsuit will continue. If
that is what you want to happen, you must object.                                          PLEASE DO NOT TELEPHONE THE COURT OR THE COURT CLERK’S
                                                                                           OFFICE TO INQUIRE ABOUT THIS SETTLEMENT OR THE CLAIM PROCESS.
You may object to the proposed settlement in writing. You may also appear at the Final
Approval Hearing, either in person or through your own attorney. If you appear through
                  Visit www.XXXXXXXXXX.com or call 1-877-327-1109 for complete information and to obtain a Claim Form
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                             UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF CALIFORNIA

SIDNEY NAIMAN, individually and on
behalf of all others similarly situated,               Case No. 4:17-cv-03806-CW

                        Plaintiffs,

         v.

TOTAL MERCHANT SERVICES, INC. and
QUALITY MERCHANT SERVICES, INC.,

                        Defendants.


                     [PROPOSED] PRELIMINARY APPROVAL ORDER

        Plaintiff Sidney Naiman has moved for preliminary approval of a proposed class settlement

that would resolve the Plaintiff’s class-action claims brought under the Telephone Consumer

Protection Act, 47 U.S.C. § 227. Upon consideration of the motion, the Settlement Agreement,

and the exhibits thereto, the Court GRANTS preliminary approval of the Settlement, finding

specifically as follows.1

                                           I.      Jurisdiction

             1.   The Court preliminarily finds that it has jurisdiction over the subject matter of this

 action and personal jurisdiction over the parties and the members of the Settlement Class

 described below.

                                II.     Certification of Settlement Class

             2.   Under Rule 23 of the Federal Rules of Civil Procedure, the Court preliminarily

 certifies the following “Settlement Class,” consisting of:


1 Unless otherwise defined herein, all terms used in this Order that are defined terms in the
Settlement Agreement, Dkt. No. _____, have the same meaning as set forth in the Settlement
Agreement.

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         All persons within the United States to whom Quality Merchant Services, Inc., Michael
         Alimento, and/or Brian Alimento made a telephone call through the Spitfire dialing
         software and/or system (i.e., an automated telephone dialing system or an artificial or
         prerecorded voice) to any telephone number assigned to a cellular telephone service or any
         service for which the called party is charged for the call for the purpose of promoting Total
         Merchant Services, Inc.’s goods or services from July 5, 2013 through June 8, 2018. These
         individuals are identified on the Class List.

                        III.    Class Representative and Class Counsel

         3.       The Court preliminarily appoints Plaintiff Sidney Naiman as Class Representative.

         4.       Under Rule 23(g), the following attorneys and firms are preliminarily appointed as

Class Counsel:

                         Edward Broderick
                         Anthony Paronich
                         BRODERICK & PARONICH, P.C.
                         99 High St., Suite 304
                         Boston, Massachusetts 02110
                                -and-
                         Matthew P. McCue
                         THE LAW OFFICE OF MATTHEW P. MCCUE
                         1 South Avenue, Suite 3
                         Natick, Massachusetts 01760
                                -and-
                         Jon Bernhard Fougner
                         600 California Street, 11th Floor
                         San Francisco, CA 94108
                                -and-
                         Andrew Heidarpour
                         Heidarpour Law Firm
                         1300 Pennsylvania Ave NW, 190-318
                         Washington, DC 20004

                                  IV.    Rule 23 Requirements

             5.   The Court preliminarily finds that the prerequisites for a class action under Federal

 Rules of Civil Procedure 23(a) have been satisfied in that: (a) Settlement Class Members are so

 numerous that joinder of them all is impracticable; (b) there are questions of law and fact common

 to the Settlement Class Members; (c) the claims of the Class Representative are typical of the
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 claims of the Settlement Class Members; (d) the Class Representative will fairly and adequately

 represent the interests of the Settlement Class Members

             6.   The Court further finds that the requirements for class certification under Rule

 23(b)(3) have been satisfied in that (A) questions of law and fact common to the Settlement Class

 Members predominate over any questions affecting only individual Settlement Class Members;

 and (B) a class action is superior to other available methods for the fair and efficient adjudication

 of the controversy.

                           V.       Preliminary Approval of the Settlement

             7.   Pursuant to the Settlement Agreement, Defendant has agreed to pay Seven Million

 Five Hundred Thousand Dollars ($7,500,000) to create the Settlement Fund. Amounts awarded

 to Class Counsel or the Class Representative will be exclusively paid from the Settlement Fund.

 Class Members will receive a pro-rata share of the Settlement Fund after attorneys’ fees and costs,

 the Class Representative’s award, the costs of notice and administration and any other expenditure

 authorized by the Court are deducted. In addition to payments from the Settlement Fund,

 Defendant has also agreed that it will take remedial steps in an effort to comply with the TCPA’s

 requirements regarding making telephone calls using an automatic telephone dialing system or an

 artificial or prerecorded voice to a cellular telephone service as alleged by Plaintiff in this Action.

             8.   Having considered the motion for preliminary approval, the Settlement

 Agreement, and the exhibits thereto, the Court preliminarily finds that the Settlement is fair,

 adequate, reasonable, and in the best interests of the Settlement Class. This finding is supported

 by, among other things, the complex legal and factual posture of the Action, the fact that the

 Settlement is the result of arm’s-length negotiations presided over by a neutral mediator, and the

 settlement benefits being made available to Settlement Class Members.

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                                   VI.      Notice and Administration

             9.    The Court appoints Epiq to perform the functions and duties of the Settlement

 Administrator set forth in the Settlement Agreement—including effectuating the Notice Plan—

 and to provide such other administration services as are reasonably necessary to facilitate the

 completion of the Settlement.

             10.   The Court has carefully considered the notice program set forth in the Settlement

 Agreement. The Court finds that the notice program constitutes the best notice practicable under

 the circumstances and satisfies fully the requirements of Rule 23(c)(2) and the requirements of

 due process.

             11.   The Court thus approves the notice program and the form, content, and

 requirements of the Notice described in and attached as exhibits to the Settlement Agreement.

 The Settlement Administrator shall cause the Notice Plan to be completed on or before [21 days

 after preliminary approval]. Class Counsel shall, before the Final Approval Hearing, file with

 the Court a declaration executed by the Settlement Administrator attesting to the timely

 completion of the notice program.

             12.   All costs of providing Class Notice to the Settlement Class, processing Claim

 Forms, and administering distributions from the Settlement Fund shall be exclusively paid out of

 the Settlement Fund, as provided by the Settlement Agreement, but the cost award to the

 Settlement Administrator shall not be approved until the Final Approval Hearing.

                               VII.      Exclusion and “Opt-Outs”

             13.   Each and every member of the Settlement Class shall be bound by all

 determinations and orders pertaining to the Settlement, including the release of all claims to the

 extent set forth in the Settlement Agreement, unless such persons request exclusion from the

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 Settlement in a timely and proper manner, as hereinafter provided.

             14.   A member of the Settlement Class wishing to request exclusion (or “opt-out”)

 from the Settlement shall mail the request in written form, by first class mail, postage prepaid,

 which must be received no later than [81 days after preliminary approval] by the Settlement

 Administrator at the address specified in the Notice. In the written request for exclusion, the

 member of the Settlement Class must state his or her full name, address, and telephone number(s).

 Further, the written request for exclusion must include the case name and number, a statement

 that the member of the Settlement Class submitting the request wishes to be excluded from the

 Settlement, and the personal signature of the member of the Settlement Class submitting the

 request. The request for exclusion shall not be effective unless it provides the required information

 and is made within the time stated above, or the exclusion is otherwise accepted by the Court. No

 member of the Settlement Class, or any person acting on behalf of or in concert or in participation

 with a member of the Settlement Class, may request exclusion of any other member of the

 Settlement Class from the Settlement.

             15.   Members of the Settlement Class who timely request exclusion from the

 Settlement will relinquish their rights to benefits under the Settlement and will not release any

 claims against the Defendant or any of the other Released Parties.

             16.   All Settlement Class Members who do not timely and validly request exclusion

 shall be so bound by all terms of the Settlement Agreement and by the Final Approval Order and

 Judgment even if they have previously initiated or subsequently initiate individual litigation or

 other proceedings against the Defendant or any of the other Released Parties.

             17.   The Settlement Administrator will promptly provide all Parties with copies of any

 exclusion requests, and Plaintiff shall file a list of all persons who have validly opted out of the

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 Settlement with the Court before the Final Approval Hearing.

                                           VIII. Objections

             18.   Any Settlement Class Member who does not file a timely request for exclusion,

 but who wishes to object to approval of the proposed Settlement, to the award of attorneys’ fees

 and expenses, or to the compensation award to the Class Representative, must submit to the Clerk

 and Class Counsel a written statement that includes: his or her full name and address; the

 telephone numbers that he or she maintains were called; all grounds for the objection, with factual

 and legal support for each stated ground; the identity of any witnesses he or she may call to testify;

 copies of any exhibits that he or she intends to introduce into evidence at the Final Approval

 Hearing; and a statement of whether he or she intends to appear at the Final Approval Hearing

 and, if so, whether he or she intends to appear with counsel. The Court will consider objections

 to the Settlement, to the award of attorneys’ fees and expenses, or to the compensation award to

 the Class Representative only if, on or before [81 days after preliminary approval], such

 objections and any supporting papers are filed in writing with the Clerk of this Court, who is

 ordered to scan them onto the electronic case docket.

             19.   A Settlement Class Member who has timely filed a written objection as set forth

 above may appear at the Final Approval Hearing in person or through counsel to be heard orally

 regarding his or her objection. It is not necessary, however, for a Settlement Class Member who

 has filed a timely objection to appear at the Final Approval Hearing. No Settlement Class Member

 wishing to be heard orally in opposition to the approval of the Settlement and/or the request for

 attorneys’ fees and expenses and/or the request for a compensation award to the Class

 Representative will be heard unless that person has filed a timely written objection as set forth

 above. No non-party, including members of the Settlement Class who have timely opted-out of

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 the Settlement, will be heard at the Final Approval Hearing.

             20.     Any member of the Settlement Class who does not opt out or make an objection

 to the Settlement in the manner provided herein shall be deemed to have waived any such

 objection by appeal, collateral attack, or otherwise, and shall be bound by the Settlement

 Agreement, the releases contained therein, and all aspects of the Final Approval Order and

 Judgment.

       IX.         Application for an Award of Attorneys’ Fees, Costs and an Incentive Award

             21.     Any application for a compensation award to the Class Representative as well as

 any application for an award of attorneys’ fees and expenses must be filed on or before [30 days

 after preliminary approval].


                                       X.     Final Approval Hearing

             22.     A Final Approval Hearing will be held before the Court on [at least 100 days after

 preliminary approval] at _____ x.m. for the following purposes:

                    (a)    to finally determine whether the requirements of Federal Rules of Civil

         Procedure 23(a) and (b)(3) are met;

                    (b)    to determine whether the Settlement is fair, reasonable and adequate, and

         should be approved by the Court;

                    (c)    to determine whether the judgment as provided under the Settlement

         Agreement should be entered, including a bar order prohibiting Settlement Class Members

         from further pursuing claims released in the Settlement Agreement;

                    (d)    to consider the application for an award of attorneys’ fees and expenses of

         Class Counsel;


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                   (e)    to consider the application for a compensation award to the Class

         Representative;

                   (f)    to consider the distribution of the Settlement Benefits under the terms of the

         Settlement Agreement; and

                   (g)    to rule upon such other matters as the Court may deem appropriate.

             23.    On or before fourteen (14) days before the Final Approval Hearing, Class Counsel

 shall file and serve a motion for final approval.

             24.    The Final Approval Hearing may be postponed, adjourned, transferred or

 continued by order of the Court without further notice to the Settlement Class. At, or following,

 the Final Approval Hearing, the Court may enter a Final Approval Order and Judgment in

 accordance with the Settlement Agreement that will adjudicate the rights of all class members.

             25.    For clarity, the deadlines the Parties shall adhere to are as follows:

Class Notice Completed by:                        _________, 2018

Incentive Award and Fee Application:              _________, 2018

Objection/Exclusion Deadline:                      _________, 2018

Claim Deadline:                                   _________, 2018

Final Approval Submissions:                        _________, 2019

Final Approval Hearing:                           _________, 2019 at ______ x.m.

             26.    Settlement Class Members do not need to appear at the Final Approval Hearing or

 take any other action to indicate their approval.

                                           XI.     Further Matters




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             27.   All discovery and other pretrial proceedings in the Action are stayed and

 suspended until further order of the Court except such actions as may be necessary to implement

 the Settlement Agreement and this Order.

             28.   In the event that the Settlement Agreement is terminated under the terms of the

 Settlement Agreement, or for any reason whatsoever the approval of it does not become Final and

 no longer subject to appeal, then: (i) the Settlement Agreement shall be null and void, including

 any provisions related to the award of attorneys’ fees and expenses, and shall have no further

 force and effect with respect to any party in this Action, and shall not be used in this Action or in

 any other proceeding for any purpose; (ii) all negotiations, proceedings, documents prepared, and

 statements made in connection therewith shall be without prejudice to any person or party hereto,

 shall not be deemed or construed to be an admission by any party of any act, matter, or

 proposition, and shall not be used in any manner of or any purpose in any subsequent proceeding

 in this Action or in any other action in any court or other proceeding, provided, however, that the

 termination of the Settlement Agreement shall not shield from subsequent discovery any factual

 information provided in connection with the negotiation of this Settlement Agreement that would

 ordinarily be discoverable but for the attempted settlement; (iii) this Order shall be vacated; and

 (iv) any party may elect to move the Court to implement the provisions of this paragraph, and

 none of the non-moving parties (or their counsel) shall oppose any such motion.

             29.   The Court retains jurisdiction to consider all further matters arising out of or

 connected with the Settlement.



DATED:                          , 2018
                                                      United States District Court


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